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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                               for the
                                                      District of South Carolina


  MOTHER DOE, INDIVIDUALLY AND AS THE
   MOTHER AND NATURAL GUARDIAN FOR
          JANE DOE, A MINOR,
                            Plaintiff                             )
                    v.                                            )      Civil Action No.      3:18-cv-02731-CMC
   RICHLAND COUNTY SCHOOL DISTRICT 2,                             )
    SHERIFF OF RICHLAND COUNTY IN HIS                             )
    OFFICIAL CAPACITY D/B/A RICHLAND                              )
      COUNTY SHERIFF’S DEPARTMENT,
             & JOHN E. EWING,
                          Defendants


                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):


O summary judgment is entered in favor of the defendant, John E. Ewing, as to the third cause of action. The plaintiff,
Mother Doe, individually and as the mother and natural guardian for Jane Doe, a minor, shall take nothing of the
defendant, John E. Ewing, as to the third cause of action and, this action is dismissed with prejudice as to that cause.
O summary judgment is entered in favor of the defendant, Richland County School District 2, as to the sixth cause of
action. The plaintiff, Mother Doe, individually and as the mother and natural guardian for Jane Doe, a minor, shall take
nothing of the defendant, Richland County School District 2, as to the sixth cause of action and, this action is dismissed
with prejudice as to that defendant as to that cause.
O the plaintiff, Mother Doe, individually and as the mother and natural guardian for Jane Doe, a minor, take nothing of
the defendant, John E. Ewing, as to the ninth cause of action and, this action is dismissed with prejudice as to that
defendant as to that cause.
O the plaintiff, Mother Doe, individually and as the mother and natural guardian for Jane Doe, a minor, take nothing
of the defendants, Richland County School District 2 and Sheriff of Richland County in his official capacity d/b/a
Richland County Sheriff’s Department, as to the seventh and eighth causes of action and, this action is dismissed with
prejudice as to those causes.
O the plaintiff, Mother Doe, individually and as the mother and natural guardian for Jane Doe, a minor, take nothing
of the defendant, Sheriff of Richland County in his official capacity d/b/a Richland County Sheriff’s Department, as to
the claim in paragraph 25(o) of the Complaint and, this action is dismissed with prejudice as to that claim.


This action was (check one):
 tried by a jury, the Honorable                         presiding, and the jury has rendered a verdict.
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 tried by the Honorable                presiding, without a jury and the above decision was reached.

O decided by the Court, the Honorable Cameron McGowan Currie, Senior US District Judge, presiding. The Court
having heard and granted defendant John E. Ewing’s motion for summary judgment as to the third cause of action;
having heard and granted defendant Richland County School District 2's motion for summary judgment as to the sixth
cause of action; having dismissed the ninth cause of action as to defendant John E. Ewing; having dismissed the seventh
and eight causes of action; and having dismissed the claim in paragraph 25(o) of the Complaint.



Date: June 5, 2020                                               ROBIN L. BLUME, CLERK OF COURT


                                                                                 s/Charles L. Bruorton
                                                                             Signature of Clerk or Deputy Clerk
